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FILED-ED4 IN THE UNITED STATES DISTRICT COURT
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Willie Marlow Sr., Willie Marlow Jr.
and Anthony Williams.

Plaintiffs,

02C 9183

JURY DEMANDED

OFFICER Mark L. HEIN, #19700, OFFICER
HUERRO, JOHN DOE, AND JOHN ROE, JOHN

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POE AND THE CITY OF CHICAGO, )

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aoe ee ee eee ee tendants JUDGE ANDERSEN
COMPLAINT MAGISTRATE JUDGE DENLOW
1. The jurisdiction of this Court is invoked

pursuant to the Civil Rights Act, 42 U.S.C. 1983 and 1988;
28 U.S.C. 1321 and 1323(3); and the Constitution of the
United States, and supplemental jurisdiction under 28

U.S.C. Section 1367.
PARTIES
2. Plaintiff Willie Marlow Sr., Willie Marlow Jr., and

Anthony Williams are African-American males and are

citizens of the United States, and residents of Chicago,

 

Illinois. Willie Marlow, Sr., is the father of Willie

Marlow Jr., and Anthony Williams.

 
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3. Defendant Officers Mark L. Hein, #19700 whose surname
is currently known, is a police officer employed by the
City of Chicago, and was at all times relevant to the facts
alleged in this complaint, acting within the scope of their
employment and under color of law. Defendant Officer Hein

is being sued individually.

4, Defendant Officer Huerro, whose surname is currently,
known, is a police officer employed by the City of Chicago,
and was at all times relevant to the facts alleged in this

complaint, acting within the scope of their employment and

under color of law. Defendant officer Huerro is being sued
individually.
5, Defendant Officers John Doe, John Roe, and John Poe,

whose names are not currently known, are police officers
employed by the City of Chicago, and was at all times
relevant to the facts alleged in this complaint, acting
within the scope of their employment and under color of
law. Defendant officers John Doe, John Roe, and John Poe

are being sued individually.

6. The City of Chicago, is a municipal corporation
within the State of Illinois, and was at all times material
to this Complaint, the employer of defendant police

officers Hein, Huerro, John Doe, John Roe, and John Poe.

 

 
 

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FACTS

 

7. On or about June 6, 2002 at approximately, 6:00 p.m.,
the Marlow family, including Willie Marlow Sr., Willie
Marlow Jr., and Anthony Williams were returning from a high

school graduation.

8. Willie Marlow Sr., who was driving, made a left turn
on 63°° and Campbell. At that moment, several defendant
officers on foot ordered him to pull over. Mr. Marlow
complied. Shortly thereafter, Mr. Marlow Sr. was ordered

out of his vehicle, arrested, handcuffed, and placed in a

squad car.

9. Meanwhile, defendant officers ordered Mr. Williams out
of the vehicle. He also complied and was then arrested and
handcuffed. While Willie Jr. sat in the back seat of the
passenger side of the vehicle, defendant Officer Huerro,
Hein, and other defendant officers began to beat him. He
was later removed from the vehicle and handcuffed and

defendant officers continued to beat him.

10. Defendant officers also began to beat Anthony Williams

while he was outside of the vehicle and handcuffed. During
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the course of this event, defendant officers yelled racial

epithets at Willie Jr. and Anthony Willliams.

11. Defendant officers laughed at Willie Jr. and Anthony
Williams, as they showed them marijuana that they were
planning to plant on the Marlow Sr. and Jr., and Anthony

Williams.

12. Willie Marlow Sr., witnessed the beat up of his sons
at the scene, while he sat handcuffed in a squad car. He
was later transported to the police station at 63°° and St.

Louis.

13. Willie Marlow Jr. and Anthony Williams were later
transported to the same police station at 63°? and St.
Louis. While outside the police station the two brothers
were beaten again by defendant officers Huerro, Hein and

others defendant officers.

14. Once inside the police station, the defendant officers
‘continued to beat Willie Marlow Jr. and Anthony Williams.
At the station, Willie Marlow Sr. observed that both his
sons had been badly beaten. At the station, Mr. Marlow was

told by defendant officers that his sons were “horses.”

 
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15. While at the police station Willie Marlow Sr., Willie
Jr. and Anthony Williams were all falsely charged. The case

were subsequently dismissed.

COUNT I
{42 U.S.C. SECTION 1983-Excessive Force Claim)

1-15. Plaintiff alleges and realleges paragraphs 1
through 15 as fully set forth above.

16. As a result of the unreasonable and unjustifiable
attack on Willie Marlow Jr., he suffered both physical and
emotional injuries.

17. This unreasonable and unjustifiable beating of
the Plaintiff Willie Marlow Jr. by defendant officers Hein,
Huerro, John Doe, John Roe, and John Pce was a direct and
proximate cause of his pain, suffering and mental anguish.
This act by the above individual Defendants violated the
Plaintiff’s Fourth Amendment right to be free _ from
unreasonable seizures, in addition to a violation of 42
U.S.C. § 1983

WHEREFORE, Plaintiffs demand $50,000 in compensatory
damages against Defendant Police Officers Hein, Huerro,
John Doe, John Roe and John Poe, and because the Defendants
acted maliciously, willfully “and/or wantonly, $30,000

individually in punitive damages, plus cost, attorney’s

 
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fees, and such other additional relief as this Court deems

equitable and just.

COUNT_IZ
(42 U.S.C. SECTION 1983-Excessive Force Claim)

1-15. Plaintiff alleges and realleges paragraphs 1.
through 15 as fully set forth above.

16. As a result of the unreasonable and unjustifiable
attack on Anthony Williams, he suffered both physical and
emotional injuries.

17. This unreasonable and unjustifiable beating of
the Plaintiff Anthony Williams by defendant officers Hein,
Huerro, John Doe, John Roe, and John Poe was a direct and
proximate cause of his pain, suffering and mental anguish.
This act by the above individual Defendants violated the
Plaintiff’s Fourth Amendment right to be free from
unreasonable seizures, in addition to a violation of 42
U.S.C. § 1983

WHEREFORE, Plaintiffs demand $50,000 in compensatory
damages against Defendant Police Officers Hein, Huerro,
John Doe, John Roe and John Poe, and because the Defendants
acted malicicusly, willfully and/or wantonly, $30,000
individually in punitive damages, plus cost, attorney’s
fees, and such other additional relief as this Court deems

equitable and just.

 
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COUNT III
(42 U.S.C. SECTION 1983- FALSE ARREST)

1-15. Plaintiff Willie Marlow Sr. alleges and
realleges paragraphs 1 through 15 as full set forth herein.

16. The above acts of the Defendant officers Hein,
Huerro, John Doe, John Roe and John Poe, were willfully and
wantonly done without probable cause and was a direct and
proximate cause of Willie Marlow Sr. pain, suffering and
mental anguish, and therefore violated the Plaintiff's
Forth Amendment. right to be free from unreasonable arrest,
search and seizure.

WHEREFORE, Plaintiff Willie Marlow Sr. seeks $25,000
in actual or compensatory damages against Defendant
officers Hein, Huerro, John Doe, John Roe and John Poe,
individually and because they acted maliciously, willfully
and/or wantonly, $15,000 in punitive damages against
Officers Hein, Huerro, John Doe, John Roe and John Poe,
individually.

COUNT IV
{42 J.S.C. SECTION 1983- FALSE ARREST)

1-15. Plaintiff Willie Marlow Jr. alleges and
realleges paragraphs 1 through 15 as full set forth herein.

16. The above acts of the Defendant officers Hein,
Huerro, John Doe, John Roe and John Poe, were willfully and
wantonly done without probable cause and was a direct and

proximate cause of Willie Marlow Jr. pain, suffering and

mental anguish, and therefore violated the Plaintiff's

 
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Forth Amendment right to be free from unreasonable arrest,

search and seizure.

WHEREFORE, Plaintiff Willie Marlow Jr. seeks $25,000
in actual cr compensatory damages against Defendant
officers Hein, Huerro, John Doe, John Roe and John Poe,
individually and because they acted Maliciously, willfully
and/or wantonly, $15,000 in punitive damages against
Officers Hein, Huerro, John Doe, John Roe and John Poe,
individually.

COUNT _V
(42 U.S.C. SECTION 1983- FALSE ARREST)

1-15. Plaintiff Anthony Willaims alleges and
realleges paragraphs 1 through 15 as full set forth herein.

16. The above acts of the Defendant officers Hein,
Huerro, John Doe, John Roe and John Poe, were willfully and
wantonly done without probable cause and was a direct and
proximate cause of Anthony Williams pain, suffering and
mental anguish, and therefore violated the Plaintiff’s
Forth Amendment right to be free from unreasonable arrest,

search and seizure.

WHEREFORE, Plaintiff Anthony Williams seeks $25,000 in
actual or compensatory damages against Defendant officers
Hein, Huerro, John Doe, John Roe and John Poe, individually

and because they acted maliciously, willfully and/or

 
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wantonly, $15,000 in punitive damages against Officers
Hein, Huerro, John Doe, John Roe and John Poe,

individually.

COUNT VI
(Supplemental State Claim for Assault and Battery)

1-15. Plaintiff William Mariow Jr. alleges and
realleges paragraphs 1 through 15 as though fully set forth
herein,

16. The acts of the Defendant officers Hein, Huerro,
John Doe, John Roe and John Poe, described above, were done
maliciously, willfully and wantonly and with such reckless
disregard for their natural consequences as to constitute
assault and battery under the laws and Constitution of the
State of Illinois, and did directly and proximately cause
the injuries, pain and suffering of the Plaintiff as
alleged above.

WHEREFORE, Plaintiff demands judgment against each
Defendant officers Hein, Huerro, John Doe, John Roe and
John Poe, individually an the amount in excess of $30,000
in compensatory damages and because the Defendants acted
maliciously, willfully and/or wantonly, $15,000 in punitive
or exemplary damages, plus costs for the battery against

him.

 
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COUNT VII
(Supplemental State Claim for Assault and Battery)

1-15. Plaintiff Anthony Williams alleges and realleges
paragraphs 1 through 15 as though fully set forth herein.

16. The acts of the Defendant officers Hein, Huerro,
John Doe, John Roe and John Poe, described above, were done
maliciously, willfully and wantonly and with such reckless
disregard for their natural consequences as to constitute
assault and battery under the laws and Constitution of the
State of Illinois, and did directly and proximately cause
the injuries, pain and suffering of the Plaintiff as
alleged above.

WHEREFORE, Plaintiff demands judgment against each
Defendant officers Hein, Huerro, John Doe, John Roe and
John Poe, individually an the amount in excess of $30,000
in compensatory damages and because the Defendants acted
maliciously, willfully and/or wantonly, $15,000 in punitive
or exemplary damages, plus costs for the battery against
him.

COUNT VIII
(Malicious Prosecution under Illinois Law)

1-15. Plaintiff Willie Marlow Sr. alleges and
realleges paragraphs 1 through 15 as though fully set forth

herein.
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16. The above prosecution was initiated by the

defendants to cover up the unjustifiable beating of
Plaintiffs Willie Marlow, Jr., and Anthony Williams.

17. The cefendants signed complaints against
Plaintiff which began the prosecution of him. Defendants
further gave false statements against Plaintiff to the
prosecution.

18. The unjustifiable prosecution was resolved in the
Plaintiff’s behalf and, therefore, said prosecution was in

violation of the Illinois law.

19. The unjustifiable prosecution of the Plaintiff was
done willfully and wantonly and was the direct and
proximate cause of the physical and mental injuries

suffered by the Plaintiff.

WHEREFORE, Plaintiff Willie Marlow Sr. seeks $25,000
in actual or compensatory damages against each Defendant
officers Hein, Huerro, John Doe, John Roe and John Poe,
individually and because the acted maliciously, willfully
and/or wantonly, Plaintiff demands $15,000 in punitive

damages against each defendant officer.

COUNT IX
(Malicious Prosecution under Illinois Law)

1-15. Plaintiff Willie Marlow Jr. alleges and

 
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realleges paragraphs 1 through 15 as though fully set forth
herein.

16. The above prosecution was initiated by the
defendants to cover up the unjustifiable beating of the
Plaintiff.

17. The defendants signed complaints against
Plaintiff which began the prosecution of him. Defendants
further gave false statements against Plaintiff to the
prosecution

18. The unjustifiable prosecution was resolved in the
Plaintiff’s behalf and, therefore, said prosecution was in

violation of the Illinois law.

19. The unjustifiable prosecution of the Plaintiff was
done willfully and wantonly and was the direct and
proximate cause of the physical and mental injuries

suffered by the Plaintiff.

WHEREFORE, Plaintiff Willie Marlow Jr. seeks $25,000
in actual or compensatory damages against each Defendant
officers Hein, Huerro, John Doe, John Roe and John Poe,
individually and because the acted maliciously, willfully
and/or wantonly, Plaintiff demands $15,000 in punitive

damages against each defendant officer.
 

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COUNT X
(Malicious Prosecution under Illinois Law)

1-15. Plaintiff Anthony Williams alleges and
realleges paragraphs 1 through 15 as though fully set forth
herein.

16. The above prosecution was initiated by the
defendants to cover up the unjustifiable beating of the
Plaintiff.

17. The defendants signed complaints against
Plaintiff which began the prosecution of him. Defendants
further gave false statements against Plaintiff to the
prosecution

18. The unjustifiable prosecution was resolved in the
Plaintiff’s behalf and, therefore, said prosecution was in

violation of the Illinois law.

19. The unjustifiable prosecution of the Plaintiff was
done willfully and wantonly and was the direct and
proximate cause of the physical and mental injuries

suffered by the Plaintiff.

WHEREFORE, Plaintiff Anthony Williams seeks $25,000 in
actual or compensatory damages against each Defendant
officers Hein, Huerro, John Doe, John Roe and John Poe,

individually and because the acted maliciously, willfully

 
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and/or wantonly, Plaintiff demands $15,000 in punitive

damages against each defendant officer.

COUNT XI
(Supplemental State Law Claim for Intentional Infliction of
Emotional Distress )

1-15. Plaintiff William Marlow, Sr., alleges and
realleges paragraphs 1 through 15 as though fully set forth
herein.

16. Defendants Officers Hein, Huerro, John Doe, John
Roe and John Poe, intentionally engaged in extreme and
outrageous behavior against Willie Marlow Sr., including,
but not limited to, unjustifiably beating and detaining his
sons Willie Marlow Jr. and Anthony Williams in front of
him, causing him mental injuries.

17. Defendants Officers Hein, Huerro, John Doe, Poe
and Roe are liable for the intentional infliction of
emotional distress because it was proximately caused by
their actions as set forth above.

18. The defendants’ outrageous behavior caused Willie
Marlow Sr. to suffer mental and emotional distress
including fear, anger, humiliation and the injuries set
forth above.

WHEREFORE, plaintiff demands compensatory damages not

in excess of $50,000, jointly and severally from the

defendant officers Hein, Huerro, John Doe, John Roe and

 
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John Poe, plus costs and additional relief this Court deems

equitable and just.

COUNT XII
(Respondent Superior under Illinois Law/ City of Chicago)

1-15. Plaintiff Willie Marlow Sr. alleges and
realleges paragraphs 1 through 15 as though fully set forth
herein.

16. The aforesaid acts of Defendant officers Hein,
Huerro, John Doe, John Roe and John Poe, in beating Willie
Marlow Jr., and Anthony Williams and falsely arresting and
criminally charging Willie Marlow Sr., Willie Marlow Jr.,
and Anthony Williams were done within the scope of their
employment as Chicago police officers, were willful and
wanton, and therefore the defendant City of Chicago, as
principal, is liable for the actions of its agents under

the doctrine of respondent superior.

 

WHEREFORE, Plaintiff Willie Marlow Sr., Willie Marlow,
dr., and Anthony Williams demand judgment against defendant
City of Chicago plus costs, and such other additional

relief as this Court deems equitable and just.

PLAINTIFF DEMANDS TRIAL BY JURY ON ALL COUNTS.
Case: 1:02-cv-0918#Dbcument #: 1 Filed: 12/18/02 Pagd19 of 18 PagelD #:16

Respectfully Submitted,

Standish E. Willis
Attorney for Plaintiff

Dated: 12/18/02

The Law Office of Standish E. Willis
407 S. Dearborn

Suite 1395

Chicago, Illinois 60605

(312) 554-0005

 

 
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CIVIL COVER SHEET

The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as requirad.- .
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use
of the Clerk of Court for the purpose of initiating the civil docket sheet, (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM. )

1. (a) PLAINTIFFS DEFENDANTS nol >
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NOTE: INLAND CONDEMNATION CASES, USELTHE LOCRAON a

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(C) ATTORNEYS (FIRM NAME. ADDRESS. AND TELEPHONE NUMBER} ATTORNEYS (IF ==} 2-€ St “93

The Law Office of Standish E. Willis

407 South: reget born, Street, Suite #1395
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(313) °5$4-0008 JUDGE ANDERSEN STRATE JUDGE DENLoW

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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V. NATURE OF SUIT (PLACE AN “X" IN ONE BOX ONLY)
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VI. CAUSE OF ACTION (TE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE BRIEF STATEMENT OF CAUSE.
DO NOT CITE JURISDICTIONAL STATUTES UNLESS OVERSITY)
42 U.S.C. Section 1983 Civil Rights Cause of Action
DEMAND CHECK YES only if demanded in
Vil. REQUESTED IN CHECK IF THIS IS A CLASS ACTION $ ve complaint

COMPLAINT O WNDER FA.G.P 23 JURY DEMAND: YES ONO

VIII. — This case Gl is nota refiling of a previously dismissed action.
CC) is a refiling of case number, : , previously dismissed by Judge

 

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UNITED STATES DISTRICT COURT

 
Case: 1:02-cv-09 189 Dpqysgy afin He Gy FSR PET CE eee PagelD #:18

NORTHERN DISTRICT OF ILLINOIS

’ In the Matter of Willie Marlow etal,
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Complainant,
And
City Of Chicago et al.,

DEC 1 9 2002

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APPEARANCES ARE HEREBY FILED BY THE UNDERSIGNED AS ATTORNE GES ANDERSEN
Willie Marlow Sr., Willie Marlow Jr., and Anthony Williams

MAGISTRATE JUBGE- BENTO ——

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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